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     Attorneys for Defendants Kaiser Aluminum
 8   Washington, LLC and Kaiser Aluminum
     Fabricated Products, LLC
 9
10                       UNITED STATES DISTRICT COURT
11                      EASTERN DISTRICT OF WASHINGTON

12   MICHELLE ANDERSON, an individual,
                                                    No.
13
                                       Plaintiff,
14         vs.                                      AFFIDAVIT OF PATRICK J. CRONIN
                                                    IN SUPPORT OF NOTICE OF
15   KAISER ALUMINUM WASHINGTON,                    REMOVAL
16   LLC, a foreign corporation doing business
     in the State of Washington; KAISER
17   ALUMINUM FABRICATED
     PRODUCTS, LLC, a foreign corporation
18
     doing business in the State of Washington;
19   "JOHN DOE I-V" employees, agents,
     and/or independent contractors of KAISER
20   ALUMINUM WASHINGTON, LLC
21   and/or KAISER ALUMINUM
     FABRICATED PRODUCTS, LLC; and
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24
      AFFIDAVIT OF PATRICK J. CRONIN IN SUPPORT
      OF NOTICE OF REMOVAL
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 1                               CERTIFICATE OF SERVICE
 2
           I hereby certify that on the 1st day of June, 2021, I caused the foregoing to be
 3
     served on the following parties in the manner indicated:
 4
 5   Matthew F. Duggan                             VIA REGULAR MAIL
     GLP Attorneys, P.S., Inc.                     VIA CERTIFIED MAIL
 6   601 W. Main Ave., Suite 305                   HAND DELIVERED
     Spokane, WA 99201                             BY FACSIMILE
 7
                                                   VIA EMAIL
 8   Attorney for Plaintiff
 9
10
                                            s/Patrick J. Cronin
11                                          PATRICK J. CRONIN, WSBA #28254
                                            BENJAMIN H. RASCOFF, WSBA #45197
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      AFFIDAVIT OF PATRICK J. CRONIN IN SUPPORT
      OF NOTICE OF REMOVAL
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